Case: 20-1864 Document:Document
Case 1:15-cv-00493-LEW  10 Page:  1 Filed
                                290   Date09/18/20
                                           Filed: 09/18/2020
                                                     Page 1 of 1 Entry ID: 6368314
                                                                  PageID    #: 8215




               United States Court of Appeals
                                For the First Circuit

 No. 20-1864

       TIMOTHY NOLL, Individually and on behalf of all similarly situated individuals,

                                     Plaintiff - Appellant,

                                               v.

    FLOWERS FOODS, INC.; LEPAGE BAKERIES PARK STREET LLC; CK SALES CO.,
                                   LLC,

                                    Defendants - Appellees.


                                         MANDATE

                                 Entered: September 18, 2020

        In accordance with the judgment of September 18, 2020, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                             By the Court:

                                             Maria R. Hamilton, Clerk


 cc:
 Peter Bennett, David M. Cialkowski, Brian D. Clark, A. Craig Cleland, Amy P. Dieterich, Susan
 E. Ellingstad, Frederick B. Finberg, Margaret Santen Hanrahan, Kevin P. Hishta, Christopher D.
 Jozwiak, Rachel A. Kitze Collins, Scott A. Moriarity, John Gordon Rudd Jr., C. Garner Sanford
 Jr., Charles E. Schaffer, Shawn J. Wanta
